    Case 24-30209-mvl13            Doc 31     Filed 04/10/24 Entered 04/10/24 15:28:58              Desc Main
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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed April 10, 2024
                                            United States Bankruptcy Judge
 ______________________________________________________________________




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION


In Re:                                                                            Case No. 24-30209-MVL-13
DANIELLE VERONICA SAVOY
           Debtor



                                             Order Denying Confirmation


  On April 04, 2024 , came on for consideration the Confirmation of the plan filed February 12, 2024 by the Debtor.


  The Court finds that good cause exists for the entry of this Order; it is therefore

  ORDERED THAT Confirmation is hereby denied.
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Order Denying Confirmation, Page 2
24-30209-MVL-13
DANIELLE VERONICA SAVOY




                                              ### End of Order ###

Signed:     /s/ Thomas D. Powers
            Thomas D. Powers , Trustee
            State Bar # 16218700

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